         Case 1:20-cv-10832-AT-SN Document 840
                                           627 Filed 06/13/23
                                                     09/13/22 Page 1 of 7



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------    x
SECURITIES AND EXCHANGE COMMISSION,                                     :
                                                                        :
                                             Plaintiff,                 :   No. 19 Civ. 10832 (AT) (SN)
                                                                        :
                           - against -                                  :   ECF Case
                                                                        :
RIPPLE LABS, INC., BRADLEY GARLINGHOUSE, :
And CHRISTIAN A. LARSEN                                                 :
                                                                        :
                                             Defendants.                :
                                                                        :
----------------------------------------------------------------------- x

                  DECLARATION OF JORGE G. TENREIRO IN SUPPORT
                  OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

        I, Jorge G. Tenreiro, pursuant to 28 U.S.C. § 1746, declare as follows:

        1.       I am a member of the bar of the State of New York and of the United States District

Court for the Southern District of New York. I am employed by Plaintiff Securities and Exchange

Commission (the “SEC”) in its New York Regional Office.

        2.       I have personal knowledge of the facts and circumstances of the case. As counsel

representing the SEC, I reviewed information and documents obtained by the SEC during its

investigation and litigation of this matter, including documents described herein, and information

provided to me by members of the SEC staff.

        3.       I am submitting this Declaration to put forth exhibits in support of the

SEC’s motion for summary judgment against Defendants Ripple Labs, Inc., Bradley Garlinghouse,

and Christian A Larsen.
          Case 1:20-cv-10832-AT-SN Document 840
                                            627 Filed 06/13/23
                                                      09/13/22 Page 2 of 7



          4.     Attached hereto are true and correct copies of the following documents or excerpts
  thereof:


Exhibit                 Document Description                                    Bates

PX 401    Email chain dated June 21, 2020                       RPLI_SEC 0502430

PX 402    Email chain dated September 19, 2017                  RPLI_SEC 0646877

PX 403    [Reserved]

PX 404    Email dated May 1, 2017                               SEC-       -RIPPLE_0010934

PX 405    Email dated October 25, 2013                          RPLI_SEC 0320778

PX 406    Transcript of Recording of Impromptu Meeting,         RPLI SEC 1100541
          Garlinghouse, dated December 14, 2017

PX 407    Email dated December 15, 2017                         RPLI_SEC 0866480

PX 408    Transcript of Recording of Q1 2017 All Hands          RPLI SEC 1100504
          Meeting, dated April 4, 2017

PX 409    [Reserved]

PX 410    Transcript of Recording of Q2 2018 All Hands          RPLI_SEC 1100509
          Meeting, dated July 10, 2018

PX 411    Brad Garlinghouse XRP Information Form                BITSTAMP USA_00000001

PX 412    Chats dated January 27, 2020                          GARL_Civil_001344

PX 413    Text messages dated June 25, 2020                     RPLI_SEC 0533153

PX 414    Email chain dated December 11, 2017                   RPLI_SEC 0764110

PX 415    Email dated December 9, 2020 with attachment          RPLI_SEC 0494774

PX 416    Chats dated January 16, 2020                          GARL_Civil_001342

PX 417    Transcript of Recording of Q4 2017 All Hands          RPLI_SEC 1100507
          Meeting, dated December 12, 2017

PX 418    Email chain dated September 6, 2019                   RPLI_SEC 0594978

PX 419    Email dated June 3, 2020                              RPLI_SEC 0479392



                                                 2
         Case 1:20-cv-10832-AT-SN Document 840
                                           627 Filed 06/13/23
                                                     09/13/22 Page 3 of 7




PX 420   Email chain dated July 17, 2017                       RPLI_SEC 0351547

PX 421   Email chain dated July 1, 2019                        RPLI_SEC 0223873

PX 422   Transcription of Recording of Weekly Meeting, dated   RPLI_SEC 1100593
         April 22, 2019

PX 423   Transcript of Recording of Q4 2017 All Hands          RPLI_SEC 1100507
         Meeting, dated December 12, 2017

PX 424   Email chain dated June 25, 2019                       RPLI_SEC 0182614

PX 425   Master XRP Purchase Agreement with                    RPLI_SEC 0234056


PX 426   Email chain dated June 3, 2020                        RPLI_SEC 0770535

PX 427   Email chain dated June 4, 2020                        RPLI_SEC 1030930

PX 428   Email dated July 8, 2019                              RPLI_SEC 0464643

PX 429   Email dated July 17, 2020 with attachment             RPLI_SEC 0301756

PX 430   Email chain dated July 17, 2020                       RPLI_SEC 0301707

PX 431   Email chain dated May 31, 2019                        RPLI_SEC 0435043

PX 432   Email chain dated July 6, 2019                        RPLI_SEC 0463789

PX 433   Email chain dated March 28, 2018                      RPLI_SEC 0393606

PX 434   Email chain dated August 21, 2016                     RPLI_SEC 0027103

PX 435   Email chain dated October 11, 2016                    RPLI_SEC 0038113

PX 436   Email dated July 27, 2017                             RPLI_SEC 0178836

PX 437   Email dated December 1, 2017                          RPLI_SEC 0054606

PX 438   Email chain dated October 14, 2020 with attachment    GARL_Civil_000806

PX 439   Email chain dated July 20, 2017                       RPLI_SEC 0200191

PX 440   Email dated December 18, 2020                         RPLI_SEC 0930759

PX 441   Email chain dated September 10, 2014                       _0002320

PX 442   Wells Submission on Behalf of Ripple Labs             RPLI SEC 0337177


                                                 3
         Case 1:20-cv-10832-AT-SN Document 840
                                           627 Filed 06/13/23
                                                     09/13/22 Page 4 of 7




PX 443   Email chain dated March 29, 2020                       RPLI_SEC 0479912

PX 444   Email chain dated March 29, 2020                       RPLI_SEC 0479912

PX 445   Email chain dated September 13, 2016                   RPLI_SEC 0378104

PX 446   Email dated May 22, 2018                               RPLI_SEC 0431806

PX 447   Declaration of                                         N/A

PX 448   Larsen Responses to Plaintiffs First Set of Requests   N/A
         for Admissions

PX 449   Email chain dated January 18, 2017                     RPLI_SEC 0221609

PX 450   Email chain dated December 11, 2017                           0042069

PX 451   Email chain dated January 16, 2018                     SEC-    -RIPPLE_0012728

PX 452   Email chain dated July 9, 2015 with attachment         RPLI_SEC 0086037

PX 453   Email chain dated December 1, 2016                     CBASE_SEC_000003247

PX 454   Garlinghouse Reponses to Plaintiff’s First             N/A
         Interrogatory

PX 455   Email chain dated June 9, 2020                         RPLI_SEC 0475771

PX 456   [Reserved]

PX 457   [Reserved]

PX 458   Email dated November 20, 2015                          GSR00011398

PX 459   Email chain dated August 8, 2018                       RPLI_SEC 0222488

PX 460   Ripple's Rebate & Incentive Agreements with Digital    SEC-RIPPLE-E-0000008
         Currency Exchanges                                     SEC-LIT-EPROD-000618420

PX 461   Email chain dated June 4, 2014                         RPLI_SEC 0425895

PX 462   Email chain dated November 6, 2014                     RPLI_SEC 0650423

PX 463   Email chain dated April 13, 2016 with attachment       RPLI_SEC 0363343

PX 464   Email dated June 26, 2016                              RPLI_SEC 0042714

PX 465   Email chain dated April 10, 2016                       RPLI_SEC 0205600

                                                      4
         Case 1:20-cv-10832-AT-SN Document 840
                                           627 Filed 06/13/23
                                                     09/13/22 Page 5 of 7




PX 466   Email chain dated August 13, 2019               RPLI_SEC 0181128

PX 467   Email chain dated August 16, 2019               RPLI_SEC 0261522

PX 468   Email chain dated October 20, 2020              RPLI_SEC 0505437

PX 469   Email chain dated July 17, 2019                 RPLI_SEC 0200554

PX 470   Email chain dated January 26, 2018                     0276974

PX 471   Email chain dated July 13, 2016                 RPLI_SEC 0888154

PX 472   Ripple Labs XRP Insider Trading Policy, dated   RPLI_SEC 0874854
         December 2018

PX 473   Email chain dated March 19, 2013                RPLI_SEC 0017082

PX 474   Email chain dated July 15, 2013                 RPLI_SEC 0012819

PX 475   Email chain dated October 10, 2016                    _Ripple_0000854

PX 476   Email chain dated October 8, 2014               GSR00000208

PX 477   Email chain dated June 2, 2016                  GSR00004437

PX 478   Email chain dated June 3, 2016                  GSR00005366

PX 479   Email dated June 7, 2016                        RPLI_SEC 0348801

PX 480   Email chain dated November 1, 2016              GSR00005000

PX 481   Email chain dated October 2, 2016               GSR00009169

PX 482   XRP Chat thread dated January 24, 2018          N/A

PX 483   Text dated January 16, 2014                     LARSEN-SEC-LIT-00003500

PX 484   Email dated October 4, 2019                     RPLI_SEC 1045665

PX 485   Email chain dated April 13, 2017                RPLI_SEC 0018282

PX 486   Email dated January 20, 2017                    RPLI_SEC 0027078

PX 487   Email dated March 26, 2020                      RPLI_SEC 0492574

PX 488   Post on Hodor’s XRP Blog dated May 22, 2018     N/A

PX 489   Email dated July 22, 2019 with attachment       RPLI_SEC 0234247


                                                  5
         Case 1:20-cv-10832-AT-SN Document 840
                                           627 Filed 06/13/23
                                                     09/13/22 Page 6 of 7




PX 490   Email chain dated September 11, 2014                             _0002297

PX 491   Email chain dated April 19, 2017                          RPLI_SEC 0843640

PX 492   Email chain dated December 9, 2015                        RPLI_SEC 0306354

PX 493   Email chain dated May 6, 2016                             RPLI_SEC 0307752

PX 494   Email chain dated June 3, 2016                            RPLI_SEC 0307708

PX 495   Email chain dated November 2, 2016                        GSR00004966

PX 496   Email chain dated August 6, 2016                          RPLI_SEC 0057021

PX 497   Email chain dated September 21, 2016                      GSR00004553

PX 498   Email chain dated June 25, 2019                           RPLI_SEC 0182621

PX 510   Declaration of                     , dated May 27,        N/A
         2022

PX 511   Declaration of                    , dated June 22, 2022   N/A

PX 512   [Reserved]

PX 513   Declaration of                     , dated June 12,       N/A
         2022

PX 514   Declaration of                  , dated April 22, 2022    N/A

PX 515   Email chain dated January 18, 2017                        RPLI_SEC 0199938

PX 516   Email dated March 11, 2017                                RPLI_SEC 0270740

PX 517   Email dated December 11, 2017                                     0042072

PX 518   Email dated January 15, 2018                              RPLI_SEC 0053847

PX 519   Transcription of Recording of Q4 2017 All Hands           RPLI_SEC 1100507
         meeting, dated December 12, 2017

PX 520   Email chain dated March 28, 2017 with attachment          RPLI_SEC 0156968

PX 521   Email chain dated March 23, 2017                          RPLI_SEC 0763477

PX 522   Email dated January 16, 2018                              SEC-      -RIPPLE_0012728

PX 523   Email chain dated June 24, 2020                           RPLI_SEC 0981609


                                                    6
          Case 1:20-cv-10832-AT-SN Document 840
                                            627 Filed 06/13/23
                                                      09/13/22 Page 7 of 7




PX 541    Email chain dated November 29, 2017                        RPLI_SEC 0055020

PX 542    Declaration of                    , dated September 7,
          2022

PX 543    Declaration of              , dated September 13, 2022

PX 544    Declaration of                  , dated September 12,
          2022


  I declare under penalty of perjury that the foregoing is true and correct.

  Dated: New York, New York
         September 13, 2022


                                                                   /s Jorge G. Tenreiro
                                                                   Jorge G. Tenreiro




                                                     7
